                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION


UNITED STATES OF AMERICA                               )
                                                       )
v.                                                     )       NO. 1:12-00011
                                                       )       JUDGE CAMPBELL
KRISTIAN CHANCELOR MATHIS                              )

                                               ORDER

         Pending before the Court is Defendant’s Motion to Extend Report Date for Service of

Sentence (Docket No. 48). The Motion asks the Court to extend the Defendant’s date to report for

service of his sentence from September 23, 2013 to January 1, 2014. The Government has filed a

Response in Opposition (Docket No. 49). The Motion is GRANTED in part and DENIED in part

as follows:

         Defendant Mathis shall surrender for service of his sentence at the institution designated by

the Bureau of Prisons before 2:00 p.m. on November 1, 2013. The report date is extended in light

of mental health issues presented at sentencing.

         It is so ORDERED.

                                                       ____________________________________
                                                       TODD J. CAMPBELL
                                                       UNITED STATES DISTRICT JUDGE




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